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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 THE TRUSTEES OF THE GENERAL                             CIVIL ACTION
 ASSEMBLY OF THE CHURCH OF THE
 LORD JESUS CHRIST OF THE
 APOSTOLIC FAITH, INC., et al.,                          NO. 21-634-KSM

        Plaintiff,

        v.

 ANTHONEÉ PATTERSON, et al.,

        Defendant.


                                          ORDER

       AND NOW, this 18th day of July, 2022, Plaintiffs having filed an Amended Complaint

(Doc. No. 67), it is ORDERED that Defendant Rochelle Bilal’s First Motion to Dismiss for Lack

of Jurisdiction (Doc. No. 66) is DENIED as MOOT.

IT IS SO ORDERED.

                                                         /s/ Karen Spencer Marston
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                                                         KAREN SPENCER MARSTON, J.
